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                                   8                                 UNITED STATES DISTRICT COURT
                                   9                                NORTHERN DISTRICT OF CALIFORNIA
                                  10
                                                                              SAN JOSE DIVISION
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                                  12    APPLE INC.,                                          Case No. 11-CV-01846-LHK
Northern District of California
 United States District Court




                                  13                   Plaintiff,                            CASE MANAGEMENT ORDER
                                  14            v.

                                  15    SAMSUNG ELECTRONICS CO. LTD., et
                                        al.,
                                  16
                                                       Defendants.
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                                               In the interest of giving the parties advance notice, the Court issues the following rulings
                                  19   on pretrial deadlines and trial management:

                                  20   JURY SELECTION: The Court will empanel 8 jurors. Each side may exercise up to 3 peremptory
                                       challenges.
                                  21
                                       TIME LIMITS: The parties shall have 45 minutes per side for opening statements, 8 hours of
                                  22
                                       evidence per side, and 1 hour per side for closing arguments.
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                                       PRELIMINARY JURY INSTRUCTIONS: The Court will file proposed preliminary jury
                                  24   instructions on May 1, 2018. The parties shall file any objections by 11:00 a.m. on May 3, 2018.
                                  25   FINAL JURY INSTRUCTIONS AND VERDICT FORM: The Court will file proposed final jury
                                       instructions and a proposed verdict form by May 7, 2018. The parties shall file any objections by
                                  26
                                       May 9, 2018.
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                                       Case No. 11-CV-01846-LHK
                                       CASE MANAGEMENT ORDER
                                       OPENING STATEMENT DEMONSTRATIVES: The parties are limited to 40 demonstrative
                                   1   slides each for opening statements. The parties shall file objections of no more than 6 pages each
                                   2   to opening statement demonstratives by 9:00 a.m. on May 10, 2018.

                                   3   HIGH PRIORITY OBJECTIONS FOR FIRST DAY OF TRIAL: The parties shall file their high
                                       priority objections and responses for witnesses and evidence to be introduced on the first day of
                                   4   trial by 9:00 a.m. on May 11, 2018.
                                   5   CLOSING ARGUMENT DEMONSTRATIVES: The parties are limited to 50 demonstrative
                                   6   slides each for closing arguments. The parties shall file objections to closing argument
                                       demonstratives by 1:00 p.m. the day before closing arguments are to be given.
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                                              The remaining case schedule is as follows:
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                                        Scheduled Event                                           Date
                                   9
                                        Deadline to File Jury Voir Dire Questions, Proposed       April 26, 2018
                                  10    Jury Instructions, and Proposed Jury Verdict Forms
                                  11    Final Pretrial Conference                                 May 3, 2018 at 1:30 p.m.

                                  12    Jury Trial                                                May 14, 2018 at 9:00 a.m.
Northern District of California
 United States District Court




                                        Length of Trial                                           5 days
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                                       IT IS SO ORDERED.
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                                       Dated: April 24, 2018
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                                  18                                                   LUCY H. KOH
                                                                                       United States District Judge
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                                       Case No. 11-CV-01846-LHK
                                       CASE MANAGEMENT ORDER
